                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                              Plaintiff,

       v.                                        Case No. 18-3137-01-CR-S-BP

DEANNA L. HARRIS
a.k.a.
DEANNA L. TOLBERT,

                              Defendant.

                  MOTION OF THE UNITED STATES FOR PRETRIAL
                   DETENTION HEARING PURSUANT TO TITLE 18,
                      UNITED STATES CODE, SECTION 3142(f)

       The United States of America, by the United States Attorney for the Western District of

Missouri, and does hereby move that the Court order a pretrial detention hearing pursuant to 18

U.S.C. § 3142(f), for the purpose of presenting evidence to determine whether any condition or

combination of conditions of release will reasonably assure the defendant=s appearance as

required by the Court and the safety of other persons and the community. As grounds for the

motion, the United States submits that:

       1.      There is probable cause to believe that the defendant committed the offense of
               conspiracy to distribute 500 grams or more of a mixture or substance containing a
               detectable amount of methamphetamine, in violation of 21 U.S.C. §§ 846 and
               841(a)(1) and (b)(1)(A); and
       2.      The defendant poses a risk to the safety of others in the community.

                               SUPPORTING SUGGESTIONS

       Subsection 3142(f), 18 U.S.C. provides that a hearing must be held by the appropriate

judicial officer to determine whether any condition or combination of conditions will reasonably

assure the defendant=s appearance and the safety of any other person in the community if the




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attorney for the Government moves for such a hearing and if the case involves an offense under

the Controlled Substances Act (21 U.S.C. § 801, et seq.) for which imprisonment for 10 years or

more is possible. In this case, the defendant is charged with conspiracy to distribute 500 grams

or more of a mixture or substance containing a detectable amount of methamphetamine, a crime

for which a term of not less than 10 years’ imprisonment is required and not more than life

imprisonment is possible.

         Upon a showing that there exists probable cause that the defendant committed the offense

referred to in the indictment, there is a legal presumption, subject to rebuttal by the defendant,

that no condition or combination of conditions will reasonably assure his appearance or assure

the safety of the community. See United States v. Apker, 964 F.2d 742, 743-44 (8th Cir. 1992);

United States v. Dorsey, 852 F.2d 1068, 1069-70 (8th Cir. 1988). Section 3142(e) and (f)(1)

provides that a presumption that a defendant will not appear for subsequent court appearances

arises if the offense is one enumerated under the Controlled Substance Act, as referred to above.

Under the Bail Reform Act, there is also a presumption that the likelihood of flight increases

with the severity of the charges, the strength of the Government=s case, and the penalty that

conviction could bring. See Apker, 964 F.2d at 744; See also United States v. Soto Rivera, 581

F.Supp 561 (D.C. Puerto Rico 1984); United States v. Menster, 481 F.Supp. 1117 (D.C. Fla.

1979).

         To further support the Government=s contention that the defendant is a risk to the safety

of the community, the Government offers that on May 17, 2017, the defendant and a companion

were stopped by the Missouri State Highway Patrol. The defendant had in her vehicle two larger

bags of suspected methamphetamine, containing gross weights of 871.5 grams and 358.7 grams.




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Another bag of suspected methamphetamine was located in the defendant’s underwear and

contained approximately 54.7 gross grams of methamphetamine.

       For the reasons set forth above, the United States requests that a detention hearing be held

and that the defendant be denied bail.

                                                       Respectfully submitted,

                                                       TIMOTHY A. GARRISON
                                                       United States Attorney

                                                By     /s/ Josephine L. Stockard
                                                       Josephine L. Stockard
                                                       Missouri Bar No. 63956
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                                         Certificate of Service

        The undersigned hereby certifies that a copy of the foregoing was delivered on
December 17, 2018, to the CM-ECF system of the United States District Court for the Western
District of Missouri for electronic delivery to all counsel of record.

                                                /s/ Josephine L. Stockard
                                                Josephine L. Stockard
                                                Assistant United States Attorney




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